      Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 1 of 28 PageID #:1




REESE LLP
Michael R. Reese (SBN 206773)
100 West 93rd Street, 16th Floor
New York, New York 10025
Telephone: (212) 643-0500
Email: mreese@reesellp.com


Attorney for Plaintiff and the Putative Classes

                            UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF ILLINOIS

 HALEY CANADAY individually and on behalf
 of all others similarly situated,                    Case No.:

                               Plaintiff,             CLASS ACTION COMPLAINT

        v.                                            JURY TRIAL DEMANDED

 REYNOLDS CONSUMER PRODUCTS, INC.
 and REYNOLDS CONSUMER PRODUCTS,
 LLC,

                               Defendants.




                                                  1
CLASS ACTION COMPLAINT
        Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 2 of 28 PageID #:2




                                CLASS ACTION COMPLAINT

         Plaintiff, Haley Canady (“Plaintiff”), on behalf of herself and all others similarly

situated, brings this class action against Defendants, Reynolds Consumer Products, Inc. and

Reynolds Consumer Products, LLC, (“Defendants” or “Reynolds”), and alleges on personal

knowledge, investigation of her counsel, and on information and belief as follows:

                                       INTRODUCTION

         1.     Reynolds offers a variety of consumer good products, including different types of

trash bags.

         2.     At all relevant times hereto, Reynolds sells trash bags under the “Hefty” brand-

name.

         3.     Specifically, Reynolds sells Hefty “Recycling” trash bags to consumers in

California and throughout the United States through online commerce, big box retailers and

chain grocery stores.

         4.     The Hefty “Recycling” trash bags are sold in 13- and 30-gallon sizes (hereinafter

the “Products”). Both sizes are sold in packaging as listed below:




                                                 2
CLASS ACTION COMPLAINT
      Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 3 of 28 PageID #:3




       5.      As depicted, Reynolds prominently advertises the word “RECYCLING” on the

front label of the Products with an eye-catching green background and white, capitalized font.

Next to the representation is an image of a trash bag filled with recyclable waste and plastics.

       6.      On the back of the label of the Products (pictured below), Defendants represent

that Hefty Recycling bags are “PERFECT FOR ALL OF YOUR RECYCLING NEEDS”:




       7.      The back label of the Products also represents, “DESIGNED TO HANDLE ALL

TYPES OF RECYCABLES.”

       8.      Furthermore, Defendants’ website provides further representations, including that

Hefty “Recycling” trash bags are suitable for recycling, stating that they “[r]educe your

environmental impact” and are “designed to handle your heaviest recycling jobs.” Defendants

also state, “These transparent bags make it easy to sort your recyclables and avoid the landfill.”

       9.      Despite Defendants’ representations, the Products are not recyclable at California

materials recovery facilities (“MRFs”) and are not suitable for the disposal of recyclable products

at MFRs.

                                                 3
CLASS ACTION COMPLAINT
      Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 4 of 28 PageID #:4




        10.    The Products are made from low-density polyethylene and are not recyclable at

MFRs.

        11.    Nearly 90% of plastic waste is not recycled, with billions of tons of plastic

becoming trash and litter. As consumers become increasingly aware of the problems associated

with plastic waste, they are increasingly susceptible to marketing claims reassuring them that the

plastic used to make and package the products that they purchase are recyclable. Many

consumers concerned with the proliferation of plastic waste actively seek to purchase products

that are either compostable or recyclable to divert such waste from the ocean and landfills.

Seeking to take advantage of consumers’ concerns, Defendants’ market and sell the Products as

“recyclable”, when the Products cannot in fact be recycled.

        12.    Despite Defendants’ marketing and advertising of the Products as recyclable,

Defendants know that the Products typically end up in landfills. Defendants’ representations that

the Products are recyclable are material, false, misleading and likely to deceive members of the

public. These representations also violate California’s legislatively declared policy against

misrepresenting the characteristics of goods and services.

        13.    Plaintiff purchased the Products in reliance on Defendants’ false representations

that the Products are recyclable. Plaintiff viewed Defendants’ false representations on the labels

and other marketing materials for the Products. If Plaintiff had known that the Products were not

recyclable, Plaintiff would not have purchased the Products and would have instead sought out

different products that are recyclable. At a minimum, she would not have paid as much as she

did if she knew the Products could not be recycled.

        14.    Defendants’ misconduct constitutes violations of California’s Consumer Legal

Remedies Act (“CLRA”), California Civil Code § 1750 et seq.; violations of California’s False



                                                 4
CLASS ACTION COMPLAINT
      Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 5 of 28 PageID #:5




Advertising Law (“FAL”), and California’s Unfair Competition Law (“UCL”); Illinois

Consumer Fraud and Deceptive Business Practices Act, 815 ILCS 505/1 et seq.; Illinois Uniform

Deceptive Trade Practice Act 815 ILCS 510/1 et seq.; and common law fraud.

       15.     Plaintiff and the Class seek an order enjoining Defendants’ acts of unfair

competition and other unlawful conduct, an award of damages to compensate them for

Defendants’ acts of unfair competition, false and misleading advertising, and breaches of

warranty, and restitution to the individual victims of Defendants’ fraudulent, unlawful and unfair

acts and practices.

                                        THE PARTIES

       16.     Plaintiff Canaday is a resident and citizen of California residing in San Diego

County, California. She purchased the Products on numerous occasions during all applicable

statute of limitations periods at Wal-Mart in California, including in San Diego, California.

Plaintiff is concerned about the environment and seeks out products that are compostable and

recyclable so that she can minimize her impact on the environment in general and on the

country’s plastic waste problems in particular. Therefore, Plaintiff specifically selected the

Products in reliance on Defendants’ representations that the Products are recyclable. The false

representations are located on the labels and other marketing materials for the Products. Had

Plaintiff known that the Products are not recyclable in California, she would not have purchased

the Products or would not have paid as much as she did for the Products.

       17.     Plaintiff purchased the Products because she believed they were recyclable.

Plaintiff remains in the market for recyclable bags, and continues to shop at locations where the

Products are sold. If the Products were actually recyclable, Plaintiff would purchase the Product

again in the immediate future. But at the moment, Plaintiff is unable to rely on the labels. If the



                                                 5
CLASS ACTION COMPLAINT
      Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 6 of 28 PageID #:6




Court were to issue an injunction ordering Defendants to comply with the state and federal laws,

and prohibiting Defendants’ use of the deceptive practices discussed herein, Plaintiff would

likely purchase the Products again in the near future.

       18.     Defendant Reynolds Consumer Products, Inc. is a publicly traded corporation

organized and existing under the laws of Delaware, with its principle place of business located in

Lake Forest, Illinois. It is the parent company of Defendant Reynolds Consumer Products, LLC.

       19.     Defendant Reynolds Consumer Products, LLC is a company organized and existing

under the laws of the state of Delaware, with its principle place of business located in Lake Forest,

Illinois. It is a wholly-owned subsidiary of Reynolds Consumer Products, Inc. and owns the

“Hefty” trademark.

       20.     On information and belief, in committing the wrongful acts alleged herein,

Defendants, in connection with their subsidiaries, affiliates, and/or other related entities and their

employees, planned, participated in and furthered a common scheme to induce members of the

public to purchase the Products by means of false, misleading, deceptive and fraudulent

representations, and Defendants participated in the making of such representations in that it

disseminated those misrepresentations or caused them to be disseminated.

       21.     Plaintiff reserves the right to amend this Complaint to add different or additional

defendants, including without limitation any officer, director, employee, supplier, or distributor

of Defendants who has knowingly and willfully aided, abetted, or conspired in the false and

deceptive conduct alleged herein.




                                                  6
CLASS ACTION COMPLAINT
       Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 7 of 28 PageID #:7




                                    JURISDICTION AND VENUE

        22.      This Court has personal jurisdiction over Defendants as they are headquartered in

the District.

        23.      This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.§

1332 of the Class Action Fairness Act of 2005 because: (i) there are 100 or more putative Class

Members, (ii) the aggregate amount in controversy exceeds $5,000,000, exclusive of interest and

costs, and (iii) there is minimal diversity because at least one Plaintiff and Defendants are citizens

of different states. This Court has supplemental jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. § 1367.

        24.      Pursuant to 28 U.S.C. § 1391(b), venue is proper because Defendants reside in

this District.

                         FACTS COMMON TO ALL CLASS MEMBERS

        25.      Less than 10 percent of American plastic waste is recycled. 1 In all, the United

States contributed up to 2.24 million metric tons into the environment in 2016, and of that, more

than half—1.5 million metric tons—was along coastlines, meaning it had a high probability of

slipping into the oceans. 2 Although the U.S. accounted for just 4 percent of the global population

in 2016, it generated 17 percent of all plastic waste. 3

        26.      The staggering amount of plastic waste accumulating in the environment is

accompanied by an array of negative side effects. For example, plastic debris is frequently

ingested by marine animals and other wildlife, which can be both injurious and poisonous.

Floating plastic is also a vector for invasive species, and plastic that gets buried in landfills can



1
  https://www.nationalgeographic.com/environment/article/us-plastic-pollution
2
  Id.
3
  Id.

                                                        7
CLASS ACTION COMPLAINT
      Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 8 of 28 PageID #:8




leach harmful chemicals into ground water that is absorbed by humans and other animals. Plastic

litter on the streets and in and around our parks and beaches also degrades the quality of life for

residents and visitors. More recently, scientists have discovered that plastic waste releases large

amounts of methane, a powerful greenhouse gas, as it degrades. Thus, plastic waste is also

thought to be a significant potential cause of global climate change. Consumers, including

Plaintiff, actively seek out products that are recyclable to prevent the increase in global waste

and to minimize their environmental footprint.

       27.      The Legislature of the State of California has declared that “it is the public policy

of the state that environmental marketing claims, whether explicit or implied, should be

substantiated by competent and reliable evidence to prevent deceiving or misleading consumers

about the environmental impact of plastic products.” Cal. Pub. Res. Code § 42355.5. The policy

is based on the Legislature’s finding that “littered plastic products have caused and continue to

cause significant environmental harm and have burdened local governments with significant

environmental cleanup costs.” Id. § 42355(a).

       28.     The California Business and Professions Code § 17580.5 makes it “unlawful for

any person to make any untruthful, deceptive, or misleading environmental marketing claim,

whether explicit or implied.” Pursuant to that section, the term “environmental marketing claim”

includes any claim contained in the Guides for use of Environmental Marketing Claims

published by the Federal Trade Commission (the “Green Guides”). Ibid; see also 16 C.F.R. §

260.1, et seq. Under the Green Guides, “[i]t is deceptive to misrepresent, directly or by

implication, that a product or package is recyclable. A product or package shall not be marketed

as recyclable unless it can be collected, separated, or otherwise recovered from the waste stream




                                                  8
CLASS ACTION COMPLAINT
         Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 9 of 28 PageID #:9




through an established recycling program for reuse or use in manufacturing or assembling

another item.” 16 C.F.R. § 260.12(a).

           29.     The Green Guides’ definition of “recyclable” is consistent with reasonable

consumer expectations. For instance, the dictionary defines the term “recycle” as: (1) convert

(waste) into reusable material, (2) return (material) to a previous stage in a cyclic process, or (3)

use again. Oxford Dictionary, Oxford University Press 2018. Accordingly, reasonable

consumers expect that products advertised, marketed, sold, labeled and/or represented as

recyclable will be collected, separated or otherwise recovered from the waste stream through an

established recycling program for reuse or use in manufacturing or assembling another item.

           30.     In an attempt to take advantage of consumers’ concerns with respect to the

environmental consequences caused by such products, Defendants advertise, market and sell the

Products as for “Recycling.” As shown above, these claims are uniform, consistent and

prominently displayed on each of the Products’ labels.

           31.     Like most plastic bags, the Products are made of low-density polyurethane, thus

they do not differ in any significant way from the millions of other plastic bags that people

receive at grocery stores and other retail outlets.

           32.     Despite prominently claiming to be for “Recycling”, many municipalities,

including San Diego, do not accept plastic bags—such as the Products—for recycling. 4 As a

result, they cannot be recycled.

           33.     Environmentally motivated consumers who purchase the Products in the belief

that they are recyclable are thus unwittingly hindering recycling efforts. Moreover, Plaintiff and

consumers have no way of knowing whether the Products are actually segregated from the



4
    See https://www.sandiegocounty.gov/content/sdc/dpw/recycling/Plastic.html

                                                         9
CLASS ACTION COMPLAINT
    Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 10 of 28 PageID #:10




general waste stream, cleaned of contamination, or reused or converted into a material that can

be reused or used in manufacturing or assembling another item.

       34.        Most consumers believe that if their Products are recyclable based on Defendants’

representations. However, the Products will end up in a landfill as they cannot be recycled by

MRFs in the United States, including those in California. Defendants’ representations that the

Products are recyclable are therefore per se deceptive under the Green Guides and under

California law.

       35.        Rather than accurately advertise its Products through its labeling, Defendants

prey on consumers’ desire for environmentally-friendly products to drive substantial profits.

       36.        All reasonable consumers, including Plaintiff, read and relied on Defendants’

“Recycling” representations when purchasing the Products.

       37.        Defendants’ “Recycling” representation was material to Plaintiff’s and Class

Members’ decision to purchase the Products.

       38.        Defendants’ marketing efforts are made in order to – and do in fact – induce

consumers to purchase the Products at a premium because consumers believe they are getting

products that are for “Recycling.”

       39.        As shown throughout this Complaint, however, Defendants’ Products are not for

“Recycling” products. Defendants’ representations and omissions are false and misleading.

       40.        Defendants intended for Plaintiff and Class Members to be deceived or mislead

by their misrepresentations and omissions.

       41.        Defendants’ deceptive and misleading practices proximately caused harm to

Plaintiff and the Class.




                                                  10
CLASS ACTION COMPLAINT
     Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 11 of 28 PageID #:11




        42.      Plaintiff and Class Members would not have purchased the Products or would

have not paid as much for the Products, had they known the truth about the mislabeled and falsely

advertised Products.

                            FED. R. CIV. P. 9(b) ALLEGATIONS

        43.      Rule 9(b) of the Federal Rules of Civil Procedure provides that “[i]n alleging

fraud or mistake, a party must state with particularity the circumstances constituting fraud or

mistake.” To the extent necessary, as detailed in the paragraphs above and below, Plaintiff has

satisfied the requirements of Rule 9(b) by establishing the following elements with sufficient

particularity.

        44.      WHO: Defendants, Reynolds Consumer Products, Inc. and Reynolds Consumer

Products, LLC, made material misrepresentations and/or omissions of fact in its labeling and

marketing of the Products by representing that the Products are for “Recycling” and/or failing to

inform consumers that most municipalities do not accept plastic bags for recycling.

        45.      WHAT: Defendants’ conduct here was and continues to be fraudulent because it

has the effect of deceiving consumers into believing that the Products are for “Recycling.”

Defendants omitted from Plaintiff and Class Members that the Products are not for “Recycling”

because they are not recyclable at MFRs and are not suitable for the disposal of recyclable

products at MFRs. Defendants knew or should have known this information is material to all

reasonable consumers and impacts consumers’ purchasing decisions. Yet, Defendants have and

continue to represent that the Products are for “Recycling” when they are not, and have omitted

from the Products’ labeling the fact they are not recyclable at MFRs and are not suitable for the

disposal of recyclable products at MFRs.




                                                11
CLASS ACTION COMPLAINT
     Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 12 of 28 PageID #:12




          46.   WHEN: Defendants made material misrepresentations and/or omissions detailed

herein, including that the Products are for “Recycling” continuously throughout the applicable

Class period(s).

          47.   WHERE: Defendants’ material misrepresentations and omissions, that the

Products are for “Recycling”, were located on the very center of the front label of the Products

in bold lettering surrounded by a bubble that contrasts with the background of the packaging,

which instantly catches the eye of all reasonable consumers, including Plaintiff, at the point of

sale in every transaction. The Products are sold in Defendants’ brick and mortar stores and online

stores.

          48.   HOW: Defendants made written misrepresentations right on the front label of the

Products that the Products were for “Recycling” even though they are not recyclable at MFRs

and are not suitable for the disposal of recyclable products at MFRs. As such, Defendants’

“Recycling” representations are false and misleading. Moreover, Defendants omitted from the

Products’ labeling the fact that there they are not recyclable at MFRs and are not suitable for the

disposal of recyclable products at MFRs. And as discussed in detail throughout this Complaint,

Plaintiff and Class Members read and relied on Defendants’ “Recycling” representations and

omissions before purchasing the Products.

          49.   WHY: Defendants misrepresented their Products as being for “Recycling” and

omitted from the Products’ labeling the fact that they are not recyclable at MFRs and are not

suitable for the disposal of recyclable products at MFRs for the express purpose of inducing

Plaintiff and Class Members to purchase the Products at a substantial price premium. As such,

Defendants profited by selling the misrepresented Products to at least thousands of consumers

throughout the nation.



                                                 12
CLASS ACTION COMPLAINT
    Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 13 of 28 PageID #:13




                              CLASS ACTION ALLEGATIONS

       50.     Plaintiff brings this action on behalf of herself and the following Classes pursuant

to Federal Rule of Civil Procedure 23(a), (b)(2) and/or (b)(3). Specifically, the Classes are

defined as:

                National Class: All persons in the United States who purchased
                the Products during the fullest period of law.

       In the alternative, Plaintiff brings this action on behalf of the following

State Sub-Class:

                California Sub-Class: All persons in the State of California who
                purchased the Products during the fullest period of law.

       51.     Excluded from the Classes are (a) any person who purchased the Products for

resale and not for personal or household use, (b) any person who signed a release of any

Defendants in exchange for consideration, (c) any officers, directors or employees, or immediate

family members of the officers, directors or employees, of any Defendant or any entity in which

a Defendants have a controlling interest, (d) any legal counsel or employee of legal counsel for

any Defendants, and (e) the presiding Judge in this lawsuit, as well as the Judge’s staff and their

immediate family members.

       52.     Plaintiff reserves the right to amend the definition of the Classes if discovery or

further investigation reveals that the Classes should be expanded or otherwise modified.

       53.     Numerosity – Federal Rule of Civil Procedure 23(a)(1). Class Members are so

numerous and geographically dispersed that joinder of all Class Members is impracticable. While

the exact number of Class Members remains unknown at this time, upon information and belief,

there are thousands, if not hundreds of thousands, of putative Class Members. Moreover, the

number of members of the Classes may be ascertained from Defendants’ books and records.



                                                 13
CLASS ACTION COMPLAINT
    Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 14 of 28 PageID #:14




Class Members may be notified of the pendency of this action by mail and/or electronic mail,

which can be supplemented if deemed necessary or appropriate by the Court with published

notice.

          54.    Predominance of Common Questions of Law and Fact – Federal Rule of

Civil Procedure 23(a)(2) and 23(b)(3). Common questions of law and fact exist as to all Class

Members and predominate over any questions affecting only individual Class Members. These

common legal and factual questions include, but are limited to, the following:

                a. Whether Defendants made the “Recycling” Representations;

                b. Whether Defendants promoted the Products with false and misleading statements

                   of fact and material omissions;

                c. Whether Defendants’ “Recycling” Representations are deceptive, unfair or

                   misleading;

                d. Whether Defendants’ actions and/or omissions violate the consumer protection

                   statutes invoked below;

                e. Whether Defendants’ conduct violates public policy;

                f. Whether Defendants’ acts, omissions or misrepresentations of material facts

                   constitute fraud;

                g. Whether Plaintiff and putative members of the Classes have suffered an

                   ascertainable loss of monies or property or other value as a result of Defendants’

                   acts, omissions or misrepresentations of material facts;

                h. Whether Defendants were unjustly enriched at the expense of Plaintiff and

                   members of the putative Classes in connection with the Products;




                                                  14
CLASS ACTION COMPLAINT
    Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 15 of 28 PageID #:15




             i. Whether Plaintiff and members of the putative Classes are entitled to monetary

                 damages and, if so, the nature of such relief; and

             j. Whether Plaintiff and members of the putative Classes are entitled to equitable,

                 declaratory or injunctive relief and, if so, the nature of such relief.

       55.     Pursuant to Rule 23(b)(2), Defendants have acted or refused to act on grounds

generally applicable to the putative Classes, thereby making final injunctive or corresponding

declaratory relief appropriate with respect to the putative Classes as a whole. In particular,

Defendants have marketed, advertised, distributed and sold Products as “RECYCLING”

products, which is false and misleading.

       56.     Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claims are

typical of those of the absent Class Members in that Plaintiff and the Class Members each

purchased and used the Products and each sustained damages arising from Defendants’ wrongful

conduct, as alleged more fully herein. Plaintiff shares the aforementioned facts and legal claims

or questions with putative members of the Classes, and Plaintiff and all members of the putative

Classes have been similarly affected by Defendants’ common course of conduct alleged herein.

Plaintiff and all members of the putative Classes sustained monetary and economic injuries

including, but not limited to, ascertainable loss arising out of Defendants’ false and deceptive

recycling representations and omissions, as alleged herein.

       57.     Adequacy – Federal Rule of Civil Procedure 23(a)(4). Plaintiff will fairly and

adequately represent and protect the interests of the members of the putative Classes. Plaintiff

has retained counsel with substantial experience in handling complex class action litigation,

including complex questions that arise in this type of consumer protection litigation. Further,




                                                  15
CLASS ACTION COMPLAINT
    Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 16 of 28 PageID #:16




Plaintiff and her counsel are committed to the vigorous prosecution of this action. Plaintiff does

not have any conflicts of interest or interests adverse to those of putative Classes.

       58.     Insufficiency of Separate Actions – Federal Rule of Civil Procedure 23(b)(1).

Absent a class action, Plaintiff and members of the Classes will continue to suffer the harm

described herein, for which they would have no remedy. Even if separate actions could be brought

by individual consumers, the resulting multiplicity of lawsuits would cause undue burden and

expense for both the Court and the litigants, as well as create a risk of inconsistent rulings and

adjudications that might be dispositive of the interests of similarly situated consumers,

substantially impeding their ability to protect their interests, while establishing incompatible

standards of conduct for Defendants. Accordingly, the proposed Classes satisfy the requirements

of Fed. R. Civ. P. 23(b)(1).

       59.     Declaratory and Injunctive Relief – Federal Rule of Civil Procedure 23(b)(2).

Defendants have acted or refused to act on grounds generally applicable to Plaintiff and all

Members of the Classes, thereby making appropriate final injunctive relief and declaratory relief,

as described below, with respect to the members of the Classes as a whole.

       60.     Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is superior

to any other available methods for the fair and efficient adjudication of the present controversy for

at least the following reasons:

             a. The damages suffered by each individual members of the putative Classes do not

                 justify the burden and expense of individual prosecution of the complex and

                 extensive litigation necessitated by Defendants’ conduct;




                                                 16
CLASS ACTION COMPLAINT
   Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 17 of 28 PageID #:17




          b. Even if individual members of the Classes had the resources to pursue individual

             litigation, it would be unduly burdensome to the courts in which the individual

             litigation would proceed;

          c. The claims presented in this case predominate over any questions of law or fact

             affecting individual members of the Classes;

          d. Individual joinder of all members of the Classes is impracticable;

          e. Absent a Class, Plaintiff and members of the putative Classes will continue to

             suffer harm as a result of Defendants’ unlawful conduct; and

          f. This action presents no difficulty that would impede its management by the Court

             as a class action, which is the best available means by which Plaintiff and

             members of the putative Classes can seek redress for the harm caused by

             Defendants.

          g. In the alternative, the Classes may be certified for the following reasons:

                i. The prosecution of separate actions by individual members of the Classes

                   would create a risk of inconsistent or varying adjudication with respect to

                   individual members of the Classes, which would establish incompatible

                   standards of conduct for Defendants;

               ii. Adjudications of claims of the individual members of the Classes against

                   Defendants would, as a practical matter, be dispositive of the interests of

                   other members of the putative Classes who are not parties to the

                   adjudication and may substantially impair or impede the ability of other

                   putative Class Members to protect their interests; and




                                             17
CLASS ACTION COMPLAINT
     Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 18 of 28 PageID #:18




                    iii. Defendants have acted or refused to act on grounds generally applicable to

                        the members of the putative Classes, thereby making appropriate final and

                        injunctive relief with respect to the putative Classes as a whole.


                                    CLAIMS FOR RELIEF
                                           COUNT I
                              California’s False Advertising Law
                            Cal. Bus. & Prof. Code § 17500 (“FAL”)
                            (On Behalf of the California Sub-Class)

        61.     Plaintiff repeats and realleges the allegations in the previous paragraphs as if fully

set forth herein.

        62.     The FAL provides that “[i]t is unlawful for any person, firm, corporation or

association, or any employee thereof with intent directly or indirectly to dispose of real or personal

property or to perform services” to disseminate any statement “which is untrue or misleading, and

which is known, or which by the exercise of reasonable care should be known, to be untrue or

misleading.” Cal. Bus. & Prof. Code § 17500.

        63.     It is also unlawful under the FAL to disseminate statements concerning property or

services that are “untrue or misleading, and which is known, or which by the exercise of reasonable

care should be known, to be untrue or misleading.” Id.

        64.     As alleged herein, Defendants committed acts of false and misleading advertising,

as defined by the FAL, by using statements to promote the sale of it’s the Products and making the

“Recycling” representations and omissions. Defendants knew or should have known that their

advertising claims have not been substantiated and are misleading and/or false.

        65.     Defendants knew or should have known, through the exercise of reasonable care,

that their “Recycling” representations and omissions were false and misleading and likely to

deceive consumers and cause them to purchase Defendants’ Products.


                                                  18
CLASS ACTION COMPLAINT
     Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 19 of 28 PageID #:19




        66.     Defendants’ wrongful conduct is ongoing and part of a general practice that is still

being perpetuated and repeated throughout the State of California and nationwide.

        67.     Plaintiff suffered injury in fact as a result of Defendants’ actions as set forth herein

because she purchased the Products in reliance on Defendants’ false and misleading “Recycling”

representations and omissions.

        68.     Defendants’ business practices as alleged herein constitute deceptive, untrue, and

misleading advertising pursuant to the FAL because Defendants’ have advertised the Products in

a manner that is untrue and misleading, which Defendants knew or reasonably should have known,

and omitted material information from their advertising.

        69.     Defendants profited from their sale of the falsely and deceptively advertised

Products to unwary consumers.

        70.     As a result, Plaintiff, the California Sub-Class members, and the general public are

entitled to injunctive and equitable relief, restitution, and an order for the disgorgement of the

funds by which Defendants were unjustly enriched.

        71.     Pursuant to Cal. Bus. & Prof. Code § 17535, Plaintiff, on behalf of herself and the

California Sub-Class, seeks an order enjoining Defendants from continuing to engage in deceptive

business practices, false advertising, and any other act prohibited by law, including those set forth

in this Complaint.

                                           COUNT II
                           California’s Consumer Legal Remedies Act
                            Cal. Civ. Code § 1750 et seq. (“CLRA”)
                            (On Behalf of the California Sub-Class)

        72.     Plaintiff repeats and realleges the allegations in the previous paragraphs as if fully

set forth herein.




                                                  19
CLASS ACTION COMPLAINT
    Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 20 of 28 PageID #:20




       73.     The CLRA prohibits deceptive practices in connection with the conduct of a

business that provides goods, property, or services primarily for personal, family, or household

purposes.

       74.     Defendants’ false and misleading labeling and other policies, acts, and practices

were designed to, and did, induce the purchase and use of the Products for personal, family, or

household purposes by Plaintiff and Class Members, and violated and continue to violate the

following sections of the CLRA:

                a. § 1770(a)(5): representing that goods have characteristics, uses, or

 benefits which they do not have;

                b. § 1770(a)(7): representing that goods are of a particular standard,

 quality, or grade if they are of another;

                c. § 1770(a)(9): advertising goods with intent not to sell them as

 advertised; and

                d. § 1770(a)(16): representing the subject of a transaction has been

 supplied in accordance with a previous representation when it has not.

       75.     Defendants profited from the sale of the falsely, deceptively, and unlawfully

advertised Products to unwary consumers.

       76.     Defendants’ wrongful business practices constituted, and constitute, a continuing

course of conduct in violation of the CLRA.

       77.     Plaintiff requests that this Court enjoin the Defendant from continuing to employ

the unlawful methods, acts and practices alleged herein pursuant to Cal. Civ. Code §1780. If

Defendant is not restrained from engaging in these types of practices in the future, Plaintiff and

other members of the Class will continue to suffer harm.



                                                20
CLASS ACTION COMPLAINT
     Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 21 of 28 PageID #:21




        78.     On information and belief, Defendant’s actions were willful, wanton, and

fraudulent.

        79.     On information and belief, officers, directors, or managing agents at Defendant

authorized the use of the misleading statements about Audible.

        80.     Plaintiff seeks injunctive relief only.

                                           COUNT III
                             Violation of the False Advertising Law,
                           California Bus. & Prof. Code § 17500 et seq.
                            (On Behalf of the California Sub-Class)

        81.     Plaintiff repeats and realleges the allegations in the previous paragraphs as if fully

set forth herein.

        82.     Plaintiff brings this claim for violation of the False Advertising Law, BUS. & PROF.

CODE § 17500 et seq. (“FAL”), on behalf of the California Sub-Class.

        83.     The FAL makes it unlawful for a person, firm, corporation, or association to induce

the public to buy its products by knowingly disseminating untrue or misleading statements about

the Products.

        84.     At all relevant times, Defendants engaged, and continue to engage, in a public

advertising and marketing campaign representing that the Products are “Recycling.”

        85.     The Products, in fact, are not for “Recycling.” Defendants’ advertisements and

marketing representations are, therefore, misleading, untrue, and likely to deceive reasonable

consumers.

        86.     Defendant engaged in its advertising and marketing campaign with the intent to

directly induce consumers, including Plaintiff and the California Sub-Class members, to purchase

the Products based on false and misleading claims.




                                                  21
CLASS ACTION COMPLAINT
    Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 22 of 28 PageID #:22




       87.     In making and disseminating the statements alleged herein, Defendant knew or

should have known the statements were untrue or misleading.

       88.     Plaintiff and     the California Sub-Class      members     believed   Defendants’

representations that the Products are for “Recycling.” Plaintiff and the California Sub-Class

members would not purchase the Products if they knew the Products were not for “Recycling.”

       89.     Plaintiff and the California Sub-Class members are injured in fact and lose money

as a result of Defendants’ conduct of improperly describing the Products as being for “Recycling.”

Plaintiff and the California Sub-Class members pay for Products that are for “Recycling,” but do

not receive such Products.

       90.     The Products Plaintiff and the California Sub-Class members receive are worth less

than the Products for which they pay. Plaintiff and the California Sub-Class members pay a

premium price on account of Defendants’ misrepresentations that the Products are for “Recycling.”

       91.     Plaintiff and the California Sub-Class members seek declaratory relief, injunctive

relief enjoining Defendants from continuing to disseminate its untrue and misleading statements,

and other relief allowable under Business and Professions Code section 17535.

                                           COUNT IV
                         Violations of the Illinois Consumer Fraud and
                                Deceptive Business Practices Act
                               815 Ill. Comp. Stat. §§ 505, et seq.
                              (On behalf of the Nationwide Class)

       92.     Plaintiff incorporates by this reference the allegations contained in the preceding

paragraphs as if fully set forth herein.

       93.     Plaintiff brings this claim individually and on behalf of the Nationwide Class.




                                                22
CLASS ACTION COMPLAINT
     Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 23 of 28 PageID #:23




          94.    The Illinois Consumer Fraud and Deceptive Business Practices Act (the “ICFA”),

815 ILCS 505/1, et seq., prohibits the use of unfair or deceptive business practices in the conduct

of trade or commerce. The ICFA is to be liberally construed to effectuate its purpose.

          95.    Plaintiff and other members of the Nationwide Class, as purchasers of the Products,

are consumers within the meaning of the ICFA given that Defendants’ business activities involve

trade or commerce, are addressed to the market generally and otherwise implicate consumer

protection concerns.

          96.    Defendants knowingly concealed, suppressed, and consciously omitted material

facts to Plaintiff and other members of the Nationwide Class knowing that consumers would rely

on the advertisements and packaging to purchase the Products.

          97.    Plaintiff and the other Nationwide Class members reasonably relied upon

Defendants’ representations and omissions.

          98.    Defendants’ conduct, as described herein, took place, in part, within the State of

Illinois in that that is where the packing was created and disseminated from, and constitutes unfair

or deceptive acts or practices in the course of trade and commerce, in violation of 815 ICFA 505/1,

et seq.

          99.    Defendants violated the ICFA by, inter alia, representing that the Products have

characteristics or benefits that they do not have. 815 ILCS § 505/2; 815 ILCS § 510/2(7).

          100.   Defendants advertised the Products with intent not to sell them as advertised, in

violation of 815 ILCS § 505/2 and 815 ILCS § 510/2(9).

          101.   Defendants engaged in fraudulent and/or deceptive conduct which creates a

likelihood of confusion or of misunderstanding in violation of 815 ILCS § 505/2; 815 ILCS §

510/2(3).



                                                 23
CLASS ACTION COMPLAINT
       Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 24 of 28 PageID #:24




         102.   Defendants engaged in misleading and deceptive advertising that represented that

the Products were for “Recycling.” Defendants chose to label the Products in this way to impact

consumer choices and gain market dominance, as they are aware that all consumers who purchased

the Products would be impacted by its omissions and would reasonably believe Defendants’ false

and misleading “Recycling” representations and omissions.

         103.   Defendants intended that Plaintiff and each of the other Nationwide Class members

would reasonably rely upon the material omissions concerning the true nature of the Products.

         104.   Defendants’ concealment, omissions and other deceptive conduct were likely to

deceive and cause misunderstanding and/or in fact caused Plaintiff and each of the other

Nationwide Class members to be deceived about the true nature of the Products.

         105.   As a direct and proximate result of Defendants’ violations of the ICFA, as set forth

above, Illinois Plaintiff and the Nationwide Class members have suffered ascertainable loss of

money caused by Defendants’ omissions.

         106.   Had they been aware of the true nature of the Products, Plaintiff and Nationwide

Class members either would have paid less for the Products or would not have purchased them at

all.

         107.   Plaintiff and the Nationwide Class members are therefore entitled to relief,

including restitution, actual damages, treble damages, punitive damages, costs and attorney’s fees,

under sections 815 ILCS 505/10a of the ICFA. Plaintiff and the Nationwide Class members are

also entitled to injunctive relief, seeking an order enjoining Defendants’ unfair and/or deceptive

acts or practices.




                                                 24
CLASS ACTION COMPLAINT
    Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 25 of 28 PageID #:25




                                            COUNT V
                   Violations of the Illinois Uniform Deceptive Trade Practices Act
                                      ILCS §§ 510/2, et seq.
                              (On behalf of the Nationwide Class)

       108.    Plaintiff incorporates by this reference the allegations contained in the preceding

paragraphs as if fully set forth herein.

       109.    Plaintiff brings this claim individually and on behalf of the Nationwide Class for

violations of the Illinois Uniform Deceptive Trade Practices Act, ILCS §§ 510/2, et seq.

       110.    Defendants constitutes a “person” as defined by 815 ILCS §§ 510/1(5).

       111.    Defendants engaged in deceptive trade practices in the conduct of their business, in

violation of 815 ILCS §§ 510/2(a), including:

              a. Defendants represented to Plaintiff and the Nationwide Class that the Products

                 had approval or characteristics that they did not have;

              b. Defendants represented to Plaintiff and the Nationwide Class that the Products

                 were of a particular standard, quality, or grade when they were actually of

                 another;

              c. Defendants advertised to Plaintiff and the Nationwide Class goods with intent not

                 to sell them as advertised;

              d. Defendants engaged in other fraudulent or deceptive conduct creating a

                 likelihood of confusion or misunderstanding; and

              e. Defendants represented that consumers’ purchases of the Products conferred or

                 involved rights that the transactions did not have or involve.

       112.    The facts that Defendants misrepresented, concealed, suppressed or omitted the

“Recycling” representations and omissions as alleged above were material, in that such facts are




                                                25
CLASS ACTION COMPLAINT
     Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 26 of 28 PageID #:26




the type of information upon which a reasonable consumer is expected to rely in making a decision

of whether to purchase Defendants’ Products.

         113.   Defendants’ misrepresentation, concealment, suppression and omission of material

facts as alleged above creates a likelihood of deception and was likely to deceive a consumer acting

reasonably in the same circumstances.

         114.   Defendants’ representations and omissions were material because they were likely

to deceive reasonable consumers.

         115.   The above unfair and deceptive practices and acts by Defendants were immoral,

unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiff and

Nationwide Class members that they could not reasonably avoid; this substantial injury

outweighed any benefits to consumers or to competition.

         116.   As a direct and proximate result of Defendants’ deceptive acts and practices,

Plaintiff and Nationwide Class members have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

from not receiving the benefit of their bargain in purchasing Defendants’ Products.

         117.   Plaintiff and Nationwide Class members seek all monetary and non-monetary relief

allowed by law, including injunctive relief and reasonable attorney’s fees

                                           COUNT VI
                                              Fraud
                               (On Behalf of the Nationwide Class)

         118.   Plaintiff repeats and realleges the allegations in the previous paragraphs as if fully

set forth herein.

         119.   Plaintiff brings this cause of action on behalf of themselves and the Nationwide

Class.



                                                 26
CLASS ACTION COMPLAINT
    Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 27 of 28 PageID #:27




       120.    As alleged herein, Defendants knowingly made material misrepresentations and

omissions regarding the Products on the Products’ labeling and packaging in the Products’

advertisements, and/or on its website, specifically the “Recycling” representations and omissions

alleged more fully herein.

       121.    Defendants made these material “Recycling” representations and omissions in

order to induce Plaintiff and putative Nationwide Class Members to purchase the Products.

       122.    Defendants knew the “Recycling” representations and omissions regarding the

Products were false and misleading but nevertheless made such representations through the

marketing, advertising and on the Products’ labeling.

       123.    In reliance on these “Recycling” representations and omissions, Plaintiff and

putative Nationwide Class Members were induced to, and did, pay monies to purchase the

Products.

       124.    Had Plaintiff and the Nationwide Class known the truth about the Products, they

would not have purchased the Products.

       125.    As a proximate result of the fraudulent conduct of Defendants, Plaintiff and the

putative Nationwide Class paid monies to Defendants, through their regular retail sales channels,

to which Defendants are not entitled, and have been damaged in an amount to be proven at trial.

                                   PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated

 members of the Classes, pray for relief and judgment, including entry of an order:

   A. Declaring that this action is properly maintained as a class action, certifying the proposed
      Class(es), appointing Plaintiff as Class Representative and appointing Plaintiff’s counsel
      as Class Counsel;

   B. Directing that Defendants bear the costs of any notice sent to the Class(es);

                                                27
CLASS ACTION COMPLAINT
   Case: 1:22-cv-03513 Document #: 1 Filed: 07/06/22 Page 28 of 28 PageID #:28




  C. Declaring that Defendants must disgorge, for the benefit of the Class(es), all or part of
     the ill-gotten profits they received from the sale of the Products, or order Defendants to
     make full restitution to Plaintiff and the members of the Class(es);

  D. Awarding restitution and other appropriate equitable relief;

  E. Granting an injunction against Defendants to enjoin them from conducting their business
     through the unlawful, unfair and fraudulent acts or practices set forth herein;

  F. Granting an Order requiring Defendants to fully and appropriately recall the Products
     and/or to remove the claims on its website and elsewhere, including the “Recyclable”
     representations regarding the Products;

  G. Ordering a jury trial and damages according to proof;

  H. Enjoining Defendants from continuing to engage in the unlawful and unfair business acts
     and practices as alleged herein;

  I. Awarding attorneys’ fees and litigation costs to Plaintiff and members of the Class(es);

  J. Awarding civil penalties, prejudgment interest and punitive damages as permitted by law;
     and

  K. Ordering such other and further relief as the Court deems just and proper.

                                       JURY DEMAND

       Plaintiff demands a trial by jury of all claims in this Complaint so triable.

Dated: July 6, 2022                           Respectfully submitted,

                                              REESE LLP

                                               /s/ Michael R. Reese
                                             Michael R. Reese (SBN 206773)
                                             100 West 93rd Street, 16th Floor
                                             New York, New York 10025
                                             Telephone: (212) 643-0500
                                             Email: mreese@reesellp.com


                                             Attorneys for Plaintiff and Putative Class Members




                                               28
CLASS ACTION COMPLAINT
